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FILED

AUG 2 2 2023
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UNITED STATES DISTRICT COURT FOR THE Seen
SOUTHERN DISTRICT OF WEST VIRGINIA
BECKLEY
UNITED STATES OF AMERICA
v. CRIMINAL NO. _5:23-CR-00 / 2 2
18 U.S.C. § 241
ANDREW FLESHMAN
DEFENDANT
INFORMATION
The United States Attorney Charges:
Introduction
At all times relevant to this offense:
l. Southern Regional Jai] (SRJ) was a state correctional facility operated by the West

Virginia Division of Corrections and Rehabilitation (WVDOC) and located in Beaver, Raleigh
County, West Virginia, within the Southern District of West Virginia.

2. A-pod and C-pod were two housing units for inmates at SRJ.

3. Defendant ANDREW FLESHMAN (FLESHMAN) was employed by WVDOC as
a correctional officer at SRJ.

4, On or about March 1, 2022, defendant FLESHMAN was on duty at SRJ and acting
in his official capacity as a correctional officer.

5. On or about March 1, 2022, Q.B., an individual known to the United States
Attorney, was a 37-year-old pre-trial detainee in the custody of SRJ.

6. On or about March 1, 2022, defendant FLESHMAN responded to a call for officer
assistance after Q.B. tried to push past a correctional officer and leave C-pod. When defendant

FLESHMAN arrived at C-pod, Q.B. was on the floor as other persons known and unknown to the
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United States Attorney were engaged in using force against Q.B. Defendant FLESHMAN and
other officers then restrained and handcuffed Q.B. in C-pod.
COUNT ONE

7. . Paragraphs | through 6 are hereby incorporated by reference.

8. On or about March 1, 2022, at Beaver, Raleigh County, West Virginia, within the
Southern District of West Virginia, defendant FLESHMAN and other persons, both known and
unknown to the United States Attorney, while acting under color of law, willfully combined,
conspired, and agreed to injure, oppress, threaten, and intimidate Q.B., a pre-trial detainee, in the
free exercise and enjoyment of a right secured and protected by the Constitution and laws of the
United States, namely, the right not to be deprived of due process of law, which includes the right
to be free from the use of unreasonable force by correctional officers,

Purpose of the Conspiracy

9, The plan and purpose of the conspiracy for defendant FLESHMAN and members
of the conspiracy was to use unreasonable force to punish inmate Q.B. in retaliation for the earlier
incident in C-pod, during which Q.B. tried to push past a correctional officer and leave C-pod. To
achieve the object of that conspiracy, defendant FLESHMAN, and members of the conspiracy,
both known and unknown to the United States Attorney, aided and abetted by each other, did
punish Q.B. by assaulting him.

Overt Acts

10. In furtherance of the conspiracy, and to accomplish its objectives, defendant
FLESHMAN and members of the conspiracy, both known and unknown to the United States
Attorney, aided and abetted by each other, committed the following overt acts, among others, on

or about March 1, 2022, at SRJ:
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a. Defendant FLESHMAN and members of the conspiracy, both known and unknown
to the United States Attorney, aided and abetted by each other, escorted Q.B. from C-pod to an
interview room.

b. After defendant entering the interview room, defendant FLESHMAN and other
members of the conspiracy both known and unknown to the United States Attorney, aided and
abetted by each other, struck and otherwise assaulted and injured Q.B. to punish him while he was
restrained, handcuffed, and while he posed no threat to anyone.

& Defendant PLESHMAN and members of the conspiracy, both known and unknown
to the United States Attorney, aided and abetted by each other, then removed Q.B. from the
interview room and escorted him to a cell in A-pod.

d, Inside the cell in A-pod, members of the conspiracy both known and unknown to
the United States Attorney struck and otherwise assaulted and injured Q,B to punish him while he
was restrained, handcuffed, and while he posed no threat to anyone.

All in violation of Title 18, United States Code, Section 241.

WILLIAM S. THOMPSON
United States Attorney

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